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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                  NORTHERN DIVISION

DAVID J. BOSHEA                                *
                                               *
       Plaintiff,                              *
                                               *      Case No. 1:21-CV-00309-ELH
       v.                                      *
                                               *
COMPASS MARKETING, INC.                        *
                                               *
       Defendant.                              *
                                               *
*      *         *      *       *      *       *      *       *       *      *       *        *


        DAVID J. BOSHEA’S RESPONSE IN OPPOSITION TO DEFENDANT
       COMPASS MARKETING, INC.’S MOTION FOR RECONSIDERATION
    OF ORDER DENYING RENEWED MOTION FOR JUDGMENT AS A MATTER
    OF LAW OR, IN THE ALTERNATIVE, MOTION FOR RECONSIDERATION OF
              ORDER GRANTING A NEW TRIAL ON ALL CLAIMS

       David J. Boshea, for his response in opposition to Compass Marketing, Inc.’s Motion for

Reconsideration of Order Denying Renewed Motion for Judgment as a Matter of Law or, in the

Alternative, Motion for Reconsideration of Order Granting a New Trial on All Claims, states:

       Compass’ motion fails as the Court correctly allowed David Boshea to amend his pleading

under Rule 15(b)(2) of the Federal Rules of Civil Procedure, which states:

            For Issues Tried by Consent. When an issue not raised by the pleadings is
           tried by the parties’ express or implied consent, it must be treated in all
           respects as if raised in the pleadings. A party may move--at any time, even
           after judgment--to amend the pleadings to conform them to the evidence and to
           raise an unpleaded issue. But failure to amend does not affect the result of the
           trial of that issue.
           Id.
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       Contrary to Compass’ claims, it consented to David Boshea proceeding on his oral contract

claim through its actions. In fact, David Boshea informed Compass of his oral contract claim

several times, including more than once before the trial. Compass never objected.

       David Boshea initially responded to Compass’ first set of interrogatories; however,

Compass objected stating that Boshea’s responses were insufficient. Boshea amended his

interrogatory responses to provide a detailed recitation of what occurred to avoid a discovery fight

and delivered the responses to Compass on September 20, 2021. Boshea specifically and fulsomely

advised Compass of his oral contract claim in his amended responses.

         ANSWERS AND OBJECTIONS TO INTERROGATORIES
         Interrogatory No. 1: Describe in detail the events surrounding the allegations
         in Paragraph 11 of the Complaint. Your response should include, but not be
         limited to, who was present, where the signing took place, and any other details
         to support your claim.
         Answer: Subject to the General Objections, David Boshea was employed by
         Energizer, when John White approached David Boshea in or about March 2007
         to solicit him to work for Compass Marketing. John White traveled to
         Naperville, Illinois at least twice in March 2007 to recruit David Boshea. The
         meetings covered a total of five to six days. John White delivered an email on
         April 1, 2007 (CM 0133), which David Boshea delivered to Compass
         Marketing’s counsel by email on August 9, 2021 at 4:07 pm. In that email, John
         White stated:
         Dave,
         I know you very very well, and have been waiting a long time to be able to work
         beside you again. i’ miss all the years of both fun and getting big things done.
         From working with Larry/Marty, to Mccready, to Sam ...
         I can’t wait to do this, think we will have a ton of fun and make lots of money!
         I agree they should work under you, but you should be certain they are on board
         with that. I’d be most worried about Jim or Arnie but you will have to measure
         that.
         Also, you and I need to make sure we discuss an exit plan for you, even seperate
         from me selling Compass. We need to respect that we are friends and that
         working together could possibly hurt our relationship (has not happened before
         but I was always working for you!!!!). I just want to define expectations up front
         so we limit the chances of getting on two different tracks, but I want us both to
         agree how we can spit if we need to so we can be certain to save our freindshlp.

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         Lets you and I plan on spending some time together. Dan may be coming out
         with me on Sunday (just for the night) if you want to meet or discuss anything
         with him. I can handle it and we now have a full time general counsel so they
         can write it all up to protect you and to clarify everything. I’ll be real careful to
         both protect our friendship, and your family. Again, you may want to start part
         time until you feel secure on the revenue side:
         Lets diuscuss this weekend. Can’t wait to get started!
         John
         p.s. I want to see pictures of the vacation!
         John White and David Boshea met in Naperville, Illinois on the following
         Sunday, April 8, 2007 at which time, John White discuss the terms of the exit
         plan discussed in the April 1, 2007 email that mirror the terms of the severance
         agreement. John White, as Compass Marketing’s CEO, offered David Boshea
         the compensation package outlined in the document produced CM 0131-32.
         David Boshea had several conversations with John and Dan White during
         April 2007 and May 2007 during which David Boshea and Compass
         Marketing agreed to the terms of David Boshea’ employment, including the
         terms contained in the severance agreement attached to the complaint. In
         addition, David Boshea shared his signed severance agreement with John
         Mancini to entice Mr. Mancini to join Compass Marketing.
         …
         David Boshea Response to Interrogatory No. 1 (Emphasis Supplied).

       The response notified Compass of the existence of the oral contract.

       Compass even examined David Boshea concerning his interrogatory response. On January

29, 2024, shortly before the trial, Compass deposed Boshea and inquired about the oral contract

reflected in his interrogatory responses:

         Q. Okay. And [as read]: Offered David Boshea the compensation package
         outlined in the document produced, CM0131-32. David Boshea had several
         conversations with John and Dan White during April 2007 and May 2007
         during which David Boshea and Compass Marketing agreed to the terms that
         David Boshea’s employment, including the terms contained in the severance
         agreement attached to the complaint. Do you see that?
         A. Yes.
         Q. That’s accurate?
         A. Yes.

         January 29, 2024 Deposition of David J. Boshea at 66:11-23.



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        Boshea directly raised the issue of the oral contract when he sought leave to file his motion

for summary judgment, explaining the oral contract met the standards under the statute of frauds.

See Exhibit B to David J. Boshea’s Motion to Amend Scheduling Order and for Leave to File His

Partial Motion for Summary Judgment under Fed.R.Civ.P. 16(B)(4) (CM/ECF 113-2). at Compass

could not be surprised that David Boshea claimed an oral contract existed, given its receipt of the

motion. Compass not only had the opportunity to respond to the motion, but it did also so. Thus,

Compass had to read David Boshea’s memorandum.

        At the trial, which commenced on February 20, 2024, David Boshea’s counsel, during his

opening statement, told the jury that the contract could be oral or written. See Trial Transcript Vol

I-27.

        Even more on point, in a sidebar during the opening statement, Boshea’s counsel advised

the Court and Compass: “We’re trying to streamline the case because it is a case about whether or

not -- actually, whether the contract was signed or not doesn’t even matter. They either had an

agreement or they didn’t have an agreement.” See Trial Transcript Vol I-13.

        During the trial, David and Julie Boshea both testified in detail that the parties agreed on

the contract terms orally and went to dinner to celebrate. Similarly, David Boshea testified he went

over the terms with John White after receiving multiple emails that outlined the terms and received

a draft agreement. Subsequently, John White and David Boshea agreed on the terms. The

agreement led to the celebration referenced above.

        Finally, the jury instructions included instructions under which it could find the existence

of an oral contract. No indication exists that the proofs were insufficient to show an oral contract

rather than a written agreement since the jury awarded damages on the oral contract claim. If, as

Compass admits in its motion:



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         This is a case where the issues under consideration for retrial “are sufficiently
         distinct and separable.” Indeed, as the Court noted in its Memorandum Opinion
         (ECF 275), “the elements of the two claims [meaning the breach of written
         contract claim and breach of oral contract claim] are distinct.” See ECF 275 at
         23 (emphasis added). Thus, on this basis alone, retrial solely on the breach of
         oral contract claim is proper (if the Court were to allow Boshea to amend his
         Complaint in the first place).
         Compass Motion at 13. (CM/ECF 279.

       Further, if the proofs are the same, why would the jury render a verdict in Boshea’s favor

on only the oral contract claim? The difference between the two is that only the written contract

requires a writing.

       While John White disputed the terms of the contract in his testimony, the emails he sent

were authenticated, and he did not challenge the claim that the parties went to dinner at which they

celebrated Boshea and Compass reaching an agreement.

       “Whether an amendment is prejudicial will often be determined by the nature of the

amendment and its timing. A common example of a prejudicial amendment is one that “raises a

new legal theory that would require the gathering and analysis of facts not already considered by

the [defendant, and] is offered shortly before or during trial.” Laber v. Harvey, 438 F.3d 404, 426–

27 (4th Cir. 2006). Notably, the cited materials are conjunctive. While admittedly, David Boshea

moved during the trial; his motion did not require the gathering and analysis of any facts that

Compass had not considered. Prejudice arises from surprise; however, Compass knew full well

that David Boshea possessed an oral contract claim and would present it.

       Despite receiving the interrogatory answer, questioning Boshea on that answer, hearing

Boshea’s counsel explain that Boshea could succeed during the sidebar, and listening to David and

Julie Boshea’s testimony on the oral agreement, Compass’s counsel neither objected nor raised a

concern regarding Boshea seeking to prove his oral contract claim. Further, Compass did not object



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when counsel specifically referenced the oral contract claim in the sidebar before either party

presented any testimony.

          Thus, Compass misunderstands the holding in Dan Ryan Builders, Inc. v. Crystal Ridge

Dev., Inc., 783 F.3d 976, 983, 984 (4th Cir. 2015). In keeping with the holding in that case, Boshea

introduced evidence at trial without objection that could potentially support his oral contract claim

for breach of oral contract because the oral contract evidence differed from the evidence concerning

Boshea’s breach of written contract claim. An oral contract does not require a signed document –

“whether the contract was signed or not doesn’t even matter.” See the Sidebar Statement above.

The testimony that the parties reached an oral contract was not “germane” to Boshea’s breach of

written contract claim since the written contract claim relied on a signed writing. In contrast, an

oral contract, by its nature, does not require a signed writing.

          Boshea has met his burden under Maryland law. When John White, David Boshea, Julie

Boshea, and Rebecca Boyd-Obarski went to dinner after Compass and Boshea agreed to their

contract. Boshea worked for twelve years; he relied on John White’s word to his detriment by

working for Compass for 12 years. Braude v. Robb, 255 Md. App. 383, 398, 279 A.3d 1153, 1162

(2022).

          While the Court comments on prejudice Compass suffered, no prejudice exists given the

number of times David Boshea made it aware that an oral contract existed.

          Given the number of times David Boshea raised the oral contract claim, Compass

understood and impliedly consented to the trial of the oral contract issue. See Feldman v. Pro

Football, Inc., 419 F. App’x 381, 390 (4th Cir. 2011). Compass claims the Court does not have

the authority to allow an amendment in the absence of Compass Marketing objecting to the

evidence of an alleged oral contract at trial falls since Compass Marketing knew of David Boshea’s



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intentions and made no objection. Thus, the implied consent stated in F.R.C.P. Rule 15(b)(2) is

evident.

       When Boshea moved to amend his pleading to conform the pleadings to the proof before

the jury retired, the Court analyzed the factors under F.R.C.P. Rule 15 and determined that it would

permit the amendment since it would aid in presenting the merits and Compass, as the objecting

party, failed to satisfy the Court that the evidence would prejudice Compass’ defense on the merits.

See F.R.CP. 15(b)(2). Compass did not seek to recall any witnesses or otherwise seek to recall any

witnesses. On the contrary, the claim for an oral contract requires the same initial proof as a claim

for a written contract. The difference being that the written contract claim concerned the

authenticity of signatures.

       As this Court noted, F.R.C.P. Rule 15(b)(2) allows David Boshea to move to amend at any

time: “When an issue not raised by the pleadings is tried by the parties’ express or implied consent,

it must be treated in all respects as if raised in the pleadings. A party may move--at any time, even

after judgment--to amend the pleadings to conform them to the evidence and to raise an unpleaded

issue. But failure to amend does not affect the result of the trial of that issue.” August 7, 2024

Order at 22 (CM/ECF 275).

           Courts are permitted to grant amendments to the pleadings even during trial or
           at the close of evidence. See, e.g., Pomer v. Schoolman, 875 F.2d 1262, 1268
           (7th Cir. 1989) (“The close of the evidence is awfully late in a lawsuit to move
           for an amendment to the complaint, unless the purpose is merely to conform the
           pleadings to the evidence; such an amendment is not untimely even if sought
           after judgment.”); Dussouy v. Gulf Coast Inv. Corp., 660 F.2d 594, 598 (5th Cir.
           1981) (“[M]ere passage of time need not result in refusal of leave to amend; on
           the contrary, it is only undue delay that forecloses amendment. Amendment can
           be appropriate as late as trial or even after trial.”).
           August 7, 2024 Order at 22 (CM/ECF 275).




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        David Boshea sought “merely to conform the pleadings to the evidence” so his motion was

timely. Id.

        A critical focus concerns prejudice suffered by the opposing party. While the Court

mentioned prejudice in its order, Compass suffered none. The Fourth Circuit explained in Laber

v. Harvey, 438 F.3d 404 (4th Cir. 2006):

         Whether an amendment is prejudicial will often be determined by the nature of
         the amendment and its timing. A common example of a prejudicial amendment
         is one that “raises a new legal theory that would require the gathering and
         analysis of facts not already considered by the [defendant, and] is offered shortly
         before or during trial.” [Johnson v. Oroweat Foods Co., 785 F.2d 503, 509 (4th
         Cir. 1986).] An amendment is not prejudicial, by contrast, if it merely adds an
         additional theory of recovery to the facts already pled and is offered before any
         discovery has occurred. Davis v. Piper Aircraft Corp., 615 F.2d 606, 613 (4th
         Cir. 1980) (“Because defendant was from the outset made fully aware of the
         events giving rise to the action, an allowance of the amendment could not in any
         way prejudice the preparation of the defendant’s case.”).
         Id. at 427.

        As the Court stated, “However, because I believe that Boshea presented a viable claim for

an oral contract, discussed infra, I shall deny Compass’s request for entry of judgment under Rule

50. Instead, I shall grant Compass’s motion for a new trial, pursuant to Rule 59.” August 7, 2024

Order at 24 (CM/ECF 275).

                         A NEW TRIAL ON ALL ISSUES IS APPROPRIATE

        Setting a new trial on all issues eliminates Compass' concerns regarding confusion. The

Court entered its order granting Compass’ motion for a new trial; it did so to remedy any confusion.

As Compass notes,”…a new trial can be limited to any ‘separable matter[].’ 11 Charles Alan

Wright et al., Federal Practice and Procedure § 2814 (2d ed. 1995); see also, e.g., Atlas Food Sys.

& Serv., Inc. v. Crane Nat’l Vendors, Inc., 99 F.3d 587, 599 (4th Cir. 1996). However, the Court’s

discretion is not so limited, as the Atlas court uses the word “can,” not must be limited. While

Compass says it only sought a retrial on the oral contract issue, none of the cases cited limit this

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Court’s discretion to retry both the oral and written contract claims. Thus, a court has the discretion

to order a new trial on some or all issues. “The authority to grant a new trial, moreover, is confided

almost entirely to the exercise of discretion on the part of the trial court. Where a matter is

committed to discretion, it cannot be said that a litigant’s right to a particular result is ‘clear and

indisputable.’” Allied Chem. Corp. v. Daiflon, Inc., 449 U.S. 33, 36, 101 S. Ct. 188, 191, 66 L. Ed.

2d 193 (1980)(quoting Will v. Calvert Fire Ins. Co., 437 U.S. 655, 666, 98 S.Ct. 2552, 2559, 57

L.Ed.2d 504 (1978) (plurality opinion). Where a matter is committed to discretion, it cannot be

said that a litigant’s right to a particular result is “clear and indisputable.” Atlas Food Systems and

Services, Inc. v. Crane Nat. Vendors, Inc., 99 F.3d 587 (1996)). This authority is explicitly provided

for by rule. Specifically, the F.R.C.P. Rule 59, which states that a court may, on motion, grant a

new trial on all or some of the issues to any party. While Compass argues the issues are distinct,

the exposition of all evidence and all claims will allow a new jury the ability to understand the

parties’ relationship.

        By granting a new trial on all issues, this Court eliminates any chance of prejudice. The

court in Johnson v. Oroweat Foods Co., 785 F.2d 503 (4th Cir. 1986) stated,

         Since the case must be remanded for a new trial, we need not determine whether
         the district court erred in finding that a grant of leave to amend would have
         resulted in prejudice to Oroweat. Circumstances will be quite different, with a
         new trial not so imminent. A prompt request repeating the application for leave
         to amend could hardly merit the description as prejudicial. It is true that
         prejudice can result where a proposed amendment raises a new legal theory that
         would require the gathering and analysis of facts not already considered by the
         opposing party, but that basis for a finding of prejudice essentially applies where
         the amendment is offered shortly before or during trial. See Roberts v. Arizona
         Board of Regents, 661 F.2d 796, 798 (9th Cir.1981); Lyons v. Board of Ed. of
         Charleston, 523 F.2d 340, 348 (8th Cir.1975); Head v. Timken Roller Bearing
         Co., 486 F.2d 870, 873 (6th Cir.1973).
         Id., 785 F.2d at 510


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Given the substantial amount of time Compass will have to prepare for trial, it suffers no prejudice

by the Court’s order allowing a trial on all matters.

         FURTHER EXPERT DISCOVERY ALLOWS FOR A FULL AIRING OF ALL MATTERS

        Allowing further expert discovery will allow for a full examination of the handwriting

issue. As Donna Eisenberg noted, the exemplars she received were of poor quality, which limited

her ability to provide a fulsome response. Compass has not provided a reference to any published

opinions that prevent this Court from reopening discovery to allow for a complete review of the

handwriting issue. As the Court noted, Compass chose not to depose Donna Eisenberg.

         Compass complains that if it had known about the Surrebuttal Report, it would
         have deposed Eisenberg and prepared differently for the trial. ECF 255 at 25.
         The defendant’s suggestion that disclosure of an additional expert report would
         have led defendant to depose the plaintiff’s expert, when it otherwise had not
         done so, is dubious. This is particularly so when the additional report reached
         the exact same conclusion that was set forth in the original expert report.
         August 7, 2024 Order Footnote 14 at 40 (CM/ECF 275).
        WHEREFORE, David J. Boshea respectfully requests this Court deny Compass

Marketing, Inc.’s Motion for Reconsideration of Order Denying Renewed Motion for Judgment as

a Matter of Law or, in the Alternative, Motion for Reconsideration of Order Granting a New Trial,

and for other just relief.

Dated: September 26, 2024                     Respectfully submitted,

                                              /s/ Gregory J. Jordan
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                             COUNSEL FOR DAVID J. BOSHEA




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                                  CERTIFICATE OF SERVICE

       Gregory Jordan certifies that he served David J. Boshea’s Response in Opposition to

Compass Marketing, Inc.’s Motion for Reconsideration of Order Denying Renewed Motion for

Judgment as a Matter of Law or, in the Alternative, Motion for Reconsideration of Order Granting

a New Trial through the Court’s CM/ECF system to stern@kaganstern.com, and

hayden@kaganstern.com on September 26, 2024.


                                               /s/ Gregory J. Jordan
                                                   Gregory J. Jordan
